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11
12                                        UNITED STATES DISTRICT COURT
13                                       EASTERN DISTRICT OF CALIFORNIA
14
15 RALPH COLEMAN, et al.,                                             Case No. 2:90-CV-00520-KJM-DB
16                         Plaintiffs,                                DECLARATION OF LISA ELLS IN
                                                                      SUPPORT OF PLAINTIFFS’ BRIEF
17                 v.                                                 REGARDING STAFFING AND
                                                                      POPULATION
18 GAVIN NEWSOM, et al.,
                                                                      Judge: Kimberly J. Mueller
19                         Defendants.
20
21                 I, Lisa Ells, declare:
22                 1.      I am an attorney duly admitted to practice before this Court. I am a partner
23 in the law firm of Rosen Bien Galvan & Grunfeld LLP, counsel of record for Plaintiffs. I
24 have personal knowledge of the facts set forth herein, and if called as a witness, I could
25 competently so testify. I make this declaration in support of Plaintiffs’ Brief Regarding
26 Staffing and Population.
27                 2.      In order to determine with specificity the size of the reduction in the
28 population of seriously mentally ill inmates in California’s prison system at each level of
     [3611032.8]

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 1 care that would be required for Defendants to come into compliance with the ratios in their
 2 2009 Staffing Plan, I created a spreadsheet showing the current (August 2020) population
 3 levels in each level of care and program. A true and correct copy of a printout of the
 4 spreadsheet is attached hereto as Exhibit A.
 5                 3.      I have divided the analysis into Tables 1-6, which I will explain in turn
 6 below.
 7                 4.      Table 1A is titled “Patient-Ratio Based Staffing: Actual August 2020.”
 8 The first column, A, contains a heading, “Staff Psychiatrist (9272),” which is the term that
 9 CDCR uses to identify staff psychiatrist positions in its budgeting documents. The
10 remaining entries in Column A are row headings for levels of care and programs. There
11 are seven separate programs identified here, each of which has different patient-based
12 ratios under Defendants’ 2009 Staffing Plan. I have combined some categories from the
13 2009 Staffing Plan where they call for the same ratio. The programs are: (1) “CCCMS
14 GP,” or Correctional Clinical Case Management System General Population; (2)
15 Reception Intake and Screening; (3) CCCMS Reception Center (RC); (4) “CCCMS:
16 STRH/Condemned/NDS,” which refers to CCCMS patients in Short Term Restrictive
17 Housing, Death Row, and Non-Disciplinary Segregation; (5) “CCCMS: LTRH,” which
18 refers to CCCMS Long Term Restrictive Housing; (6) “EOP GP/RC,” which refers to the
19 Enhanced Outpatient Program General Population and Reception Center; and (7) EOP—
20 Any Segregation Unit.
21                 5.      Column B in Table 1A is titled “Relief Factor.” It shows a relief factor of
22 0.243 for all levels of care and programs. Defendants’ 2009 Staffing Plan defines “relief
23 factor” as the staffing necessary to cover positions during “holidays, sick leave, vacation,
24 and training.” Defs’ Staffing Plan, Sept. 30, 2009 (“Defs’ 2009 Staffing Plan”), ECF No.
25 3693, at 9.1 Relief factors vary by classification. The 2009 Staffing Plan relief factor for
26 the Staff Psychiatrist position for all ratio-driven allocations is 1.243. See ECF No. 3693-2
27
     1
28       All citations are to the ECF pagination unless otherwise indicated.
     [3611032.8]
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 1 at 25-41.
 2                 6.      Column C in Table 1A is titled “Patients Per Clinician,” and contains the
 3 ratios from the 2009 Staffing Plan for Staff Psychiatrist.
 4                 7.      Column D in Table 1A is titled “Ratio as Decimal” and contains the
 5 reciprocal of “Patients per Clinician,” for ease of calculation.
 6                 8.      Columns E and F in Table 1A are titled “Male Pop.” and “Female Pop.” and
 7 contain the census taken from CDCR data, specifically a report dated August 25, 2020
 8 entitled the “Summary of Mental Health Population by Institution and Level of Care (H1)”
 9 and referred to as the “H1 Report.” This report is provided by Defendants as part of their
10 routine monthly data production to Plaintiffs and the Special Master in this case. A true
11 and correct copy of this report, which was emailed to me by counsel for Defendants on
12 August 28, 2020, is attached hereto as Exhibit B.
13                         a.       For the CCCMS GP number, I used the number of men and women
14 reported on page 2 of the H1 Report (entitled “Correctional Clinical Case Management
15 System (CCCMS) Level of Care Population by Housing Program”), but excluded those at
16 a reception center or in a segregation unit.
17                         b.       For the Reception Center Intake and Screening number, I assumed
18 that reception centers will reopen to normal levels of intake for the purposes of analyzing
19 the durability of Defendants’ staffing needs. I then assumed the average number of daily
20 admissions to CDCR from county jails, which I took from the March 31, 2020 declaration
21 of Secretary Ralph Diaz offered in support of Defendants’ Opposition to Plaintiffs’
22 Emergency Motion to Modify Population Reduction Order, ECF No. 6553. Secretary Diaz
23 states in paragraph 4 of his declaration that CDCR typically admits 3,000 per month from
24 the counties, making the daily average 99 (3,000 multiplied by 12, divided by 365).
25 Secretary Diaz’s number is essentially consistent with the data reported at page 39 (using
26 internal pagination) of CDCR’s Office of Research report published January 2020 and
27 entitled “Offender Data Points: Offender Demographics for the 24-Month Period Ending
28 December 2018,” which is available at https://www.cdcr.ca.gov/research/wp-
     [3611032.8]
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 1 content/uploads/sites/174/2020/01/201812_DataPoints.pdf. A true and correct copy of this
 2 report, which contains the most current data CDCR makes available to the public, is
 3 attached hereto as Exhibit C. Because neither Secretary Diaz nor the CDCR report breaks
 4 out the number of male versus female admissions, I listed the entire number in the Male
 5 Pop. column.
 6                         c.       For the CCCMS Reception Center number, I used the number of men
 7 and women reported on page 2 of the H1 Report (entitled “Correctional Clinical Case
 8 Management System (CCCMS) Level of Care Population by Housing Program”) in the
 9 “RC: Reception Center” column.
10                         d.       For the CCCMS: STRH/Condemned/NDS number, I used the number
11 of men and women reported on page 2 of the H1 Report (entitled “Correctional Clinical
12 Case Management System (CCCMS) Level of Care Population by Housing Program”) in
13 the following Segregated Housing columns: ASU, Condemned, STRH, and NDS.
14                         e.       For the CCCMS: LTRH number, I used the number of men and
15 women reported on page 2 of the H1 Report (entitled “Correctional Clinical Case
16 Management System (CCCMS) Level of Care Population by Housing Program”) in the
17 following Segregated Housing columns: LTRH, PSU, and SHU.
18                         f.       For the EOP GP/RC number, I used the number of men and women
19 reported on page 3 of the H1 Report (entitled “Enhanced Outpatient Program (EOP) Level
20 of Care Population by Housing Program”), but excluded those who were in any type of
21 segregation unit.
22                         g.       For the EOP – Any Segregation Unit number, I used the number of
23 men and women reported on page 3 of the H1 Report (entitled “Enhanced Outpatient
24 Program (EOP) Level of Care Population by Housing Program”) in all of the Segregated
25 Housing columns.
26                 9.      Columns G and H in Table 1A are titled “FTEs Needed for Males” and
27 “FTEs Needed for Females” and contain a formula to apply the staffing ratio to the
28 population. The formula is RATIO AS DECIMAL X POP. X (1 + RELIEF FACTOR).
     [3611032.8]
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 1 The result is the number of full-time equivalent staff psychiatrists necessary for the
 2 population.
 3                 10.      Column J in Table 1A is titled “Total FTE Needed” and is the sum of the
 4 FTEs needed for males and females, i.e., columns G and H.
 5                 11.      Table 1B is titled “Patient-Ratio Based Staffing: Targeted Pop.
 6 Reduction Scenario.” The purpose of Table 1B is to show how the FTE staff psychiatrist
 7 need changes with targeted population reductions.
 8                 12.      Column L in Table 1B is titled “Percentage Reduction.” This is the column
 9 into which the user of the spreadsheet can enter a percentage reduction for each level of
10 care in order to show the impact on staff psychiatrist need. For this exhibit, I have entered
11 the following reductions: 15% for CCCMS GP; 0% for Reception Intake and Screening;
12 0% for CCCMS Reception Center (RC); 50% for CCCMS: STRH/Condemned/NDS; 50%
13 for CCCMS: LTRH; 25% for EOP GP/RC; and 50% for EOP—Any Segregation Unit.
14                 13.      Columns M and N in Table 1B are titled “Male Target” and “Female Target”
15 and contain a formula to apply the percentage reduction in Column L to the population
16 data in Table 1A’s Columns E and F.
17                 14.      Columns O and P in Table 1B are titled “FTEs Needed for Males” and
18 “FTEs Needed for Females.” They contain the same formulas that are in Table 1A
19 Columns G and H, but applied to the Male Target and Female Target populations rather
20 than to the current populations.
21                 15.      Column R in Table 1B is titled “Total FTE Needed,” and is the sum of the
22 FTEs needed for the Male Target and Female Target populations.
23                 16.      Table 2A is titled “Non-Ratio Based Staffing: Actual August 2020.” It is
24 designed to show the psychiatrist need that is fixed by program or facility under the 2009
25 Staffing Plan and is independent of population. Table 2A accounts for three categories of
26 staffing—MHCB, Desert Institutions, and Crisis Intervention.
27                 17.      Column A in Table 2A identifies the facility or program that drives the
28 staffing, and the job classifications required for psychiatrists at those facilities or programs.
     [3611032.8]
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 1 The job classifications are Chief Psychiatrist; Senior Psychiatrist, Supervisor; Staff
 2 Psychiatrist; and On-Call Staff Psychiatrist. Chief Psychiatrist is included under MHCB
 3 not because each MHCB must have a Chief Psychiatrist, but because the 2009 Staffing
 4 Plan requires that each institution that has an MCHB have a Chief Psychiatrist. See ECF
 5 No. 3963 at 31.
 6                 18.      Column B in the MHCB section of Table 2A is titled “Relief Factor,” and
 7 identifies the one applicable relief factor of 0.74 for Staff Psychiatrists in the MHCB. See
 8 ECF No. 3963-2 at 43.
 9                 19.      Column C in the MHCB section of Table 2A is titled “Base Staffing per
10 MHCB Unit” and identifies the number of applicable staff FTEs required per unit for the
11 MHCBs. Two classifications have per unit ratios: 1 Chief Psychiatrist per institution with
12 an MHCB, and 0.3 On-Call Staff Psychiatrist per MHCB. See ECF No. 3963 at 31; ECF
13 No. 3963-2 at 43.
14                 20.      Columns D and E in the MHCB section of Table 2A together give a
15 staff/beds ratio for the MHCB units. Column D, “Staff Per,” contains the numerator of the
16 ratio, i.e., the staff, and the Column E, titled “MHCB Bed,” gives the denominator of the
17 ratio, i.e., how many beds each staff member covers. The source of each ratio is as
18 follows:
19                          a.       Senior Psychiatrist, Supervisor, 1 per 50 beds. See ECF No. 3693 at
20 22.
21                          b.       Staff Psychiatrist, 2.5 per 25 beds. See id.
22                          c.       On-Call Staff Psychiatrist has two ratios, 0.3 per MHCB unit, and 0.3
23 per 50 beds. See ECF No. 3693-2 at 43.
24                 21.      Column F in the MHCB section of Table 2A is titled “Ratio as Decimal” and
25 contains a formula that divides column D (Staff Per) by column E (MHCB Bed).
26                 22.      Column G in the MHCB section of Table 2A is titled “# MHCB Units” and
27 contains the number of MHCB facilities in CDCR. This number was calculated by
28 counting all of the prisons with numbers greater than zero listed in the MHCB Design
     [3611032.8]
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 1 Capacity column on page 1 of the August 25, 2020 H1 Report, attached hereto as Exhibit
 2 B. Note that although San Quentin State Prison (“SQ”) has a zero listed in the MHCB
 3 column and does in fact treat crisis care patients, I did not include that prison in my count
 4 because it is my understanding that MHCB patients at SQ are treated in the PIP, and thus
 5 would be covered by CDCR’s PIP staffing allocations. See H1 Report, page 1, note 3.
 6                 23.      Column H in the MHCB section of Table 2A is titled “# MHCB Beds” and
 7 contains the statewide total number of MHCB beds. This number is the “Grand Total”
 8 listed in the MHCB Design Capacity column on page 1 of the August 25, 2020 H1 Report,
 9 attached hereto as Exhibit B.
10                 24.      Column I in the MHCB section of Table 2A is titled “Beds less 5 beds per
11 MHCB Unit,” and contains the formula #MHCB Beds – (#MHCB Units X 5). This
12 number is significant because the 2009 Staffing Plan makes this subtraction of 5 beds per
13 unit before applying the staffing ratio. See ECF No. 3693-2 at 43. I am informed and
14 believe that the rationale for this is that the first 5 beds are deemed to be adequately
15 covered by the base staffing of 1 chief psychiatrist and 0.3 on-call psychiatrists. Deducting
16 the first 5 beds prevents making an additional per-bed allocation for MHCB units with
17 fewer than 6 beds. Currently, however, there are no MHCB units that small per the August
18 25, 2020 H1 Report. See Exhibit B, MHCB Design Capacity Column (showing smallest
19 CDCR MHCB units are at PVSP and WSP, with 6 beds each).
20                 25.      Column J in the MHCB section of Table 2A is titled “Total FTE,” and
21 contains a formula to apply the 2009 Staffing Plan ratios to the information in the other
22 columns. The formulas for each row are as follows:
23                          a.       Chief Psychiatrist = Base Staffing Per MHCB Unit X #MHCB Units.
24 For Chief Psychiatrists, this is simply one per institution that has an MHCB.
25                          b.       Senior Psychiatrist, Supervisor = Ratio as Decimal X Beds less 5 beds
26 per MHCB Unit.
27                          c.       Staff Psychiatrist = Ratio as Decimal X Beds less 5 beds per MHCB
28 Unit X (1+Relief Factor).
     [3611032.8]
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 1                          d.       On-Call Staff Psychiatrist = Ratio as Decimal X Beds less 5 beds per
 2 MHCB Unit + Base Staff Per MHCB Unit X #MHCB Units.
 3                 26.      Table 2A also includes a section for the Desert Institutions.
 4                 27.      Column C in the Desert Institution section of Table 2A is titled “Base
 5 Staffing Per Desert Inst.,” and shows the staffing level of 0.5 Staff Psychiatrists per Desert
 6 Institution. See ECF No. 3693 at 24.
 7                 28.      Column D in the Desert Institution section of Table 2A is titled “# Desert
 8 Insts.” and contains the number of Desert Institutions, which is five.
 9                 29.      Column J in the Desert Institution section of Table 2A contains a formula to
10 apply the ratio in column C (Base Staffing Per Desert Inst.) to the number of Desert
11 Institutions in column D, yielding the FTE need.
12                 30.      Table 2A also includes a section for Crisis Intervention.
13                 31.      Column C in the Crisis Intervention section of Table 2A is titled “Base
14 Staffing Per # Insts.,” and shows the required staffing level of 0.3 Staff Psychiatrists per
15 institution. See ECF No. 3693 at 25.
16                 32.      Column C in the Crisis Intervention section of Table 2A is titled “# Insts.”
17 and shows the number of CDCR prisons, which is thirty-five.
18                 33.      Column J in the Crisis Intervention section of Table 2A is titled “Total FTE”
19 and contains a formula to apply the ratio in column C (Base Staffing Per # Insts.) to the
20 institution number in Column D, yielding the FTE need.
21                 34.      At the bottom of Table 2A is the “Non-Ratio Based Total,” which sums the
22 three individual totals discussed above.
23                 35.      Table 2B is titled Non-Ratio Based Staffing: Targeted Pop. Reduction
24 Scenario. Table 2B is intended to show the psychiatrist need in a scenario in which
25 population reductions result in a decrease in the need for MHCB beds.
26                 36.      Column L in Table 2B is titled “Percentage Reduction.” For purposes of this
27 analysis, I have entered a 5% reduction in MHCB beds and units.
28                 37.      Columns M through R carry the Percentage Reduction into the number of
     [3611032.8]
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 1 beds and units, and finally in Column R, apply the staffing ratios from Table 2A to
 2 calculate the FTE need.
 3                 38.      For this scenario, I have projected no reduction in the need for Desert
 4 Institution or Crisis Intervention coverage.
 5                 39.      At the bottom of Table 2B is a “Non-Ratio Based Total” FTE need for the
 6 population reduction scenario.
 7                 40.      Table 3A is titled Supervising Psychiatrists (Not Including MHCB
 8 Allocation): Actual August 2020. I created this table to estimate the staffing need for
 9 supervising psychiatrists required by the 2009 Staffing Plan, but only the need not already
10 accounted for in the above MHCB allocations.
11                 41.      The first classification in Table 3A is for Chief Psychiatrists. The 2009
12 Staffing Plan requires Chief Psychiatrists not only for institutions with MHCBs, but also
13 those “with complex and multiple mental health programs.” See ECF No. 3693 at 31.
14                 42.      The second classification in Table 3A is for Senior Psychiatrist, Supervisors.
15 The 2009 Staffing Plan requires that Senior Psychiatrist, Supervisors “be allocated to
16 prisons that do not have a Chief Psychiatrist but have a significant number of staff
17 psychiatrists providing services to a largely stable inmate-patient population.” See ECF
18 No. 3693 at 32. The Plan further requires that these supervisory positions “be allocated to
19 several prisons that have a Chief Psychiatrist and that have large and complex mental
20 health services.” See id.
21                 43.      Column B of Table 3A is titled “Base Staffing Per Institution” and identifies
22 the number of applicable staff FTEs (1) required per classification per institution.
23                 44.      Column C of Table 3A is titled “# Insts. with MHCB” and identifies the
24 number of institutions with an MHCB per the method described in paragraph 22 above.
25                 45.        Column D of Table 3A is titled “# Insts. w/o MHCB” and identifies the
26 number of institutions that do not have an MHCB, which is 15 (35 minus 20).
27                 46.      Column E of Table 3A is titled “# Insts. W/O MHCB But W/ Complex and
28 Multiple Missions.” This column identifies the number of institutions that do not have an
     [3611032.8]
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 1 MHCB, but could be said to have complex and multiple mental health programs and thus
 2 would require a Chief Psychiatrist under the 2009 Staffing Plan’s criteria. Of the 15
 3 prisons that do not have MHCBs, I determined, upon review of the H1 Report, that only
 4 SQ and Valley State Prison (“VSP”) qualify under this criteria. SQ qualifies because it has
 5 a Psychiatric Inpatient Program (PIP), a 200-person EOP program, the male condemned
 6 population, a reception center, and a large CCCMS program. See Exhibit B, page 1. VSP
 7 also qualifies because it has a large EOP program (372 beds) and a large CCCMS program.
 8 See Exhibit B, page 1. Additionally, if VSP were not included here, it would be the only
 9 institution with an EOP program that did not have a Chief Psychiatrist.
10                 47.      Columns F and G (spanning both) of Table 3A are titled “# Insts. w/o
11 MHCB And With Large and Stable Patient Population.” This column identifies the
12 number of institutions that do not have an MHCB, but could be said to have a significant
13 number of staff psychiatrists providing services to a largely stable inmate-patient
14 population and thus would require a Senior Psychiatrist, Supervisor under the 2009
15 Staffing Plan’s criteria. To determine this, I reviewed the H1 Report attached as Exhibit B,
16 as well as two additional documents provided by Defendants pursuant to the routine
17 monthly reporting in this case: Enclosure 1(c) (Mental Health Institution Vacancies:
18 Summary by Institution by Classification) and Enclosure 1(k) (Allocated and Filled
19 Telepsychiatry Positions). True and correct copies of these documents showing data for
20 June 2020, which Defendants provided to Plaintiffs on August 17, 2020, are attached
21 hereto as Exhibits D and E, respectively. These three documents show that nine of the
22 fifteen prisons without MHCBs qualify as having a significant number of staff
23 psychiatrists who serve a largely stable population of patients. The six institutions that do
24 not are the desert institutions, which have small numbers of patients and only a .5 staff
25 psychiatrist allocation each, and FWF, which has 150 CCCMS patients and, I am informed
26 and believe, shares the psychiatrist allocation for FOL. The remaining nine institutions
27 qualify as follows: (1) ASP: 5 on-site staff psychiatrists allocated for 1,100 CCCMS
28 patients; (2) CCI: 4 on-site staff psychiatrists plus 4 telepsychiatrists allocated for 1,850
     [3611032.8]
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 1 CCCMS patients; (3) CRC: 7 on-site staff psychiatrists allocated for 1,150 CCCMS
 2 patients; (4) CTF: 6 on-site staff psychiatrists plus 1 telepsychiatrist allocated for 1,500
 3 CCCMS patients; (5) DVI: 4 on-site staff psychiatrists allocated for 500 CCCMS patients;
 4 (6) FOL: 3.5 on-site staff psychiatrists allocated for 500 CCCMS patients; (7) SCC: 3.5
 5 on-site staff psychiatrists allocated for 400 CCCMS patients; (8) SQ: 13.5 on-site staff
 6 psychiatrists allocated for 1,250 CCCMS patients and 200 EOP patients; and (9) VSP: 2.5
 7 on-site staff psychiatrists plus 6 telepsychiatrists allocated for 1,350 CCCMS patients and
 8 372 EOP patients.
 9                 48.      Columns H and I (spanning both) of Table 3A are titled “Estimated Percent
10 of Insts. Required Have Senior Psychiatrist Supervisor.” This column identifies the
11 percentage of institutions that are required to have Senior Psychiatrist Supervisors under
12 the 2009 Staffing Plan criteria requiring that such positions “also be allocated to several
13 prisons that have a Chief Psychiatrist and that have large and complex mental health
14 services.” I estimated 30% for this calculation.
15                 49.      Column J of Table 3A is titled “Total FTE,” and contains a formula to apply
16 the 2009 Staffing Plan ratios to the information in the other columns. The formulas for
17 each row are as follows:
18                          a.       Chief Psychiatrist = Base Staffing Per Institution X # Insts. w/o
19 MHCB But w/ Complex and Multiple Missions.
20                          b.       Senior Psychiatrist, Supervisor = # Insts. with MHCB X Estimated
21 Percent of Insts. Required to Have Senior Psychiatrist Supervisor, plus # Insts. w/o MHCB
22 and With Large and Stable Patient Population.
23                 50.        Table 3B is titled Supervising Psychiatrists (Not Including MHCB
24 Allocation): Targeted Pop. Reduction Scenario.
25                 51.      For this scenario, I have projected no reduction in the need for the allocations
26 of supervising psychiatrists who are not otherwise accounted for by the separate MHCB
27 allocations.
28                 52.      Table 4A is titled PIP Staffing: Actual August 2020. This table reflects
     [3611032.8]
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 1 the actual current allocations for CDCR’s PIPs.
 2                 53.      The PIPs do not have approved staffing ratios or an approved staffing plan.
 3 Nonetheless, for the purposes of the analysis in Table 4A, I have assumed that CDCR’s
 4 current practices in allocating psychiatrists are adequate, although Plaintiffs strenuously
 5 dispute this notion.
 6                 54.      Table 4A shows the actual allocations for each of CDCR’s five PIPs for the
 7 two psychiatrist classifications CDCR allocates to the PIPs. These numbers are drawn
 8 from two sources. For the staff psychiatrist allocations for the CMF, CHCF, and SVSP
 9 PIPs, I used the allocations reported to the Court in Defendants’ Monthly Psychiatrist
10 Vacancy Report for July 2020 (ECF No. 6842). This report, however, does not include
11 any supervisory allocations and also does not separately break out staff psychiatrist
12 allocations for the SQ and CIW PIPs. Accordingly, for the staff psychiatrist allocations for
13 the CIW and SQ PIPs, as well as for the Senior Psychiatrist, Supervisor allocations for all
14 the PIPs, I used Enclosure 1(L) (Psychiatric Inpatient Program Staff) to Defendants’
15 routine monthly reporting in this case. A true and correct copy of Enclosure 1(L) showing
16 data for June 2020, which Defendants provided to Plaintiffs on August 17, 2020, is
17 attached hereto as Exhibit F.
18                 55.      Column J of Table 4A is titled “Actual Allocated Total FTE.” This number
19 summarizes the number of currently allocated psychiatrists at each PIP by classification.
20                 56.      At the bottom of Table 4A is the “Total PIP Psychiatry Staffing” total, which
21 sums the allocations for the two classifications discussed above.
22                 57.      Table 4B is titled PIP Staffing: Targeted Pop. Reduction Scenario.
23                 58.      For this scenario, I have projected no reduction in the need for the allocations
24 for PIP psychiatrists.
25                 59.       Table 5A is titled Summary: Actual August 2020.
26                 60.      This table summarizes Plaintiffs’ estimation of Defendants’ current
27 compliance rate, given the above assumptions and assuming Defendants’ current
28 population figures.
     [3611032.8]
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 1                 61.      The first line of Table 5A, titled “Total Psychiatrists Needed:,” summarizes
 2 the total FTE numbers for Tables 1A, 2A, 3A, and 4A.
 3                 62.      The second line in Table 5A, titled “Total Staff Psychiatrist Positions Filled
 4 as of July 2020 (ECF No. 6842),” summarizes the total number of staff psychiatrists
 5 currently employed by CDCR in any capacity, including on-site civil service positions,
 6 telepsychiatrist positions, and registry positions. This number is taken from Defendants’
 7 Monthly Psychiatrist Vacancy Report for July 2020 (ECF No. 6842 at 5). This report does
 8 not include supervisory psychiatrists.
 9                 63.      The third line in Table 5A, titled “Total Senior Psychiatrist Supervisor
10 Positions Filled As of June 2020 (Encl. 1(F), 1(L)),” summarizes the total number of
11 Senior Psychiatrist, Supervisors currently employed by CDCR in any capacity, including
12 on-site civil service positions, telepsychiatrist positions, and registry positions. This
13 number is taken from two sources, Enclosures 1(L) and 1(F) of Defendants’ monthly
14 reporting for June 2020, the most recent data Plaintiffs have received. Enclosure 1(L),
15 attached as Exhibit F hereto, reports CDCR’s PIP supervisory staffing. A true and correct
16 copy of Enclosure 1(F) (Mental Health Institution Vacancies: Summary by Classification)
17 showing data for June 2020, which Defendants provided to Plaintiffs on August 17, 2020,
18 is attached hereto as Exhibit G. Enclosure 1(F) reports CDCR’s statewide non-PIP
19 supervisory staffing. The fourth line in Table 5A, titled “Total Chief Psychiatrist Positions
20 Filled As of June 2020 (Enclosure 1(F)),” summarizes the total number of Chief
21 Psychiatrists employed by CDCR in any capacity, including on-site civil service positions,
22 telepsychiatrist positions, and registry positions. This number is taken from Enclosure
23 1(F), which is attached as Exhibit G hereto.
24                 64.      The fifth line in Table 5A, titled “Total Psychiatrist Positions Filled,” totals
25 the preceding three lines to determine the total number of psychiatrists currently employed
26 by CDCR in any capacity.
27                 65.      The sixth line in Table 5A, titled “Percentage of Overall Psychiatry Staffing
28 Compliance,” calculates the percentage of filled psychiatrist positions against the total
     [3611032.8]
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 1 number Plaintiffs have calculated CDCR needs based on the analysis outlined above.
 2                 66.       Table 5B is titled Summary: Targeted Pop. Reduction Scenario.
 3                 67.      This table summarizes Plaintiffs’ estimation of Defendants’ compliance rate
 4 if Defendants employed the same number of psychiatrists but made the population
 5 reductions outlined in Tables 1B, 2B, 3B, and 4B.
 6                 68.      The first line in Table 5B, titled “Total Psychiatrists Needed,” summarizes
 7 the total FTE numbers for Tables 1B, 2B, 3B, and 4B.
 8                 69.      The second, third, fourth, and fifth lines in Table 5B are the same as in Table
 9 5A.
10                 70.      The sixth line of Table 5B, titled “Percentage of Overall Psychiatry Staffing
11 Compliance,” calculates the percentage of filled psychiatrist positions against the total
12 number Plaintiffs have calculated CDCR would need if it made the population reductions
13 outlined in Tables 1B, 2B, 3B, and 4B.
14                 71.      TABLE 6 is titled Population Reduction. Table 6 shows the current male
15 and female populations in each of the seven programs for which we have analyzed ratio-
16 driven staffing levels, the percentage reduction to be applied, the resulting target male and
17 female populations, the necessary reductions in male and female populations, and the
18 necessary total reductions, with an overall total of 5,498 persons.
19                 72.      Attached hereto as Exhibit H is a true and correct copy of CDCR’s May
20 2020 Mental Health Bed Need Study Based on Spring 2020 Population Projections, which
21 was provided to Plaintiffs by counsel for Defendants on August 1, 2020.
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     [3611032.8]
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 1                 73.      Attached hereto as Exhibit I is a true and correct copy of a print out of the
 2 contents of CDCR’s COVID-19 MH Operational Impact Dashboard, which I accessed
 3 electronically and then downloaded on September 11, 2020 by selecting the Export to PDF
 4 option in the File dropdown list.
 5                 I declare under penalty of perjury under the laws of the United States of America
 6 that the foregoing is true and correct, and that this declaration is executed at San Francisco,
 7 California this 14 day of September, 2020.
 8
 9                                                                    /s/ Lisa Ells
                                                                      Lisa Ells
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